          Case 1:21-cr-00352-JEB Document 75-1 Filed 09/18/23 Page 1 of 6




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                       Case No. 21-cr-00352-JEB
                       Plaintiff,
                                                 MOTION TO CONTINUE TRIAL
          vs.
 MARC BRU,
                       Defendant.


         Defendant, Marc Bru, pro se, moves this Court under the Fifth and Sixth

Amendments of the U.S. Constitution for a 60-day continuance of trial currently slated to

begin on October 2, 2023, to allow Mr. Bru a fair opportunity to prepare for trial. Mr. Bru

has been in transit for nearly two months and has been housed at four different

institutions. He has had little information about when he would be moved or what his

destination would be. During this time he has not had reasonable access to his discovery

or consistent access to standby counsel and has been unable to effectively prepare for

trial.

         Mr. Bru asks that the Court continue the trial and find excludable delay under 18

U.S.C. § 3161(h)(7)(A) because the ends of justice served by granting a continuance to

allow Mr. Bru more time to prepare outweigh the best interest of the public and Mr. Bru

in a speedy trial.

                               FACTUAL BACKGROUND

         Since his arrest on July 23, 2023, Mr. Bru has been moved repeatedly between

correctional facilities, from Billings, Montana, to Great Falls, Montana, to Pahrump,
         Case 1:21-cr-00352-JEB Document 75-1 Filed 09/18/23 Page 2 of 6




Nevada, to Chickasha, Oklahoma (where he resides as of the writing of this motion). He

has spent no more than three weeks at each facility. During this process, Mr. Bru has

received little accurate information about when he would be moved, and where he would

be moved to.

        When Mr. Bru was arrested he was initially held in Billings. Shortly after his

arrest, Mr. Bru was informed, through standby counsel (who received the information

from the United States Attorney’s office), that he would be transported from Billings on

August 16, 2023. He believed that, on this date, he was to be transported from Billings to

somewhere near his Washington, D.C., trial site.

        On August 3, a hearing was held in this case in which an October 2, 2023, trial

date was set. When Mr. Bru consented to this trial date it was with the expectation he

would be at his final custodial destination shortly and that he would have a month and a

half to prepare for trial with standby counsel.

        Instead, as of the writing of this motion, Mr. Bru remains in transit to Washington,

D.C. This has seriously compromised his ability to prepare for trial.

        Since his arrest, and while in transit, Mr. Bru has not had meaningful access to his

discovery. Mr. Bru is almost completely dependent on standby counsel for access to his

discovery. This is due to the voluminous nature of discovery as well as the secure nature

of some of the discovery. It is hoped that, when Mr. Bru arrives at his final destination,

standby counsel can make arrangements with the institution to allow Mr. Bru greater

access to his discovery. It is likely, however, that much of Mr. Bru’s discovery review
United States v. Marc Bru
Case No. 21-cr-00352-JEB                                                              Page 2
           Case 1:21-cr-00352-JEB Document 75-1 Filed 09/18/23 Page 3 of 6




will ultimately need to be performed on a computer with the assistance of standby

counsel.

        Since Bru’s incarceration, standby counsel has only been able to make one in-

person visit with Mr. Bru in Billings, Montana, on August 15, 2023. During that visit,

Mr. Bru was able to review some of the more recent discovery with counsel.

Unfortunately, the very next day, on August 16, after standby counsel had left Billings,

Mr. Bru was notified by the government that a great deal more new discovery had just

been made available to Mr. Bru via Relativity. Mr. Bru has not yet reviewed this

discovery, and standby counsel has not attempted to visit Mr. Bru since August 16, given

the uncertainty regarding his location.

        Mr. Bru has also had difficulty using the phone systems to communicate with

standby counsel. While standby counsel has been able to contact Mr. Bru via phone at

some of the institutions where he has resided over the past two months, phone contact has

not been unfettered. It has taken, on average, 72 hours to arrange a phone call through the

various institutions. Further, standby counsel has not been informed promptly about

where Mr. Bru has been moved to and has struggled to locate Mr. Bru after several of his

moves.

        At this point, Mr. Bru has no information as to when he will be moved from

Chickasha, Oklahoma, to a location proximate to his trial site.




United States v. Marc Bru
Case No. 21-cr-00352-JEB                                                             Page 3
         Case 1:21-cr-00352-JEB Document 75-1 Filed 09/18/23 Page 4 of 6




                                       ARGUMENT

        A trial court has broad discretion in determining whether to grant a continuance

and will consider several factors, including:

                [T]he length of the requested delay; whether other
                continuances have been requested and granted; the balanced
                convenience or inconvenience to the litigants, witnesses,
                counsel, and the court; whether the requested delay is for
                legitimate reasons, or whether it is dilatory, purposeful, or
                contrived; whether the defendant contributed to the
                circumstance which gives rise to the request for a
                continuance; whether the defendant has other competent
                counsel prepared to try the case, including the consideration
                of whether the other counsel was retained as lead or associate
                counsel; whether denying the continuance will result in
                identifiable prejudice to defendant's case, and if so, whether
                this prejudice is of a material or substantial nature; the
                complexity of the case; and other relevant factors which may
                apply in the context of any particular case.

United States v. Poston, 902 F.2d 90, 97 (D.C. Cir. 1990)(quoting United States v.
Burton, 584 F.2d 485, 488-90 (D.C. Cir. 1978)).

        Here, a continuance is necessary to allow Mr. Bru sufficient opportunity to prepare

for trial. Over the past two months, Mr. Bru has been in transit between various

correctional institutions, and he has not had adequate access to the materials he needs to

prepare for trial or consistent access to standby counsel.

        The Fifth Amendment’s Due Process protections secure a criminal defendant the

right to prepare a defense. E.g., Chambers v. Mississippi, 410 U.S. 284, 294 (1973)

(“The right of an accused in a criminal trial to due process is, in essence, the right to a

fair opportunity to defend against the State's accusations.”). Specifically, the Due Process

United States v. Marc Bru
Case No. 21-cr-00352-JEB                                                              Page 4
         Case 1:21-cr-00352-JEB Document 75-1 Filed 09/18/23 Page 5 of 6




Clause requires that a defendant have the tools necessary to build his or her defense,

including access to discovery:

                We recognized long ago that mere access to the courthouse
                doors does not by itself assure a proper functioning of the
                adversary process, and that a criminal trial is fundamentally
                unfair if the State proceeds against an indigent defendant
                without making certain that he has access to the raw materials
                integral to the building of an effective defense.

Ake v. Oklahoma, 470 U.S. 68, 76-77 (1985).

        In this case, depending on when Mr. Bru is transported to his final custodial

destination, he does not require a lengthy continuance. Sixty days would allow him to

work through discovery and to prepare with standby counsel.

        Denying Mr. Bru a continuance will substantially prejudice him. Without an

understanding of what is contained in discovery, his ability to present a defense will be

compromised. He will not be able to adequately identify helpful (or harmful) discovery,

will be impeded in developing trial defense strategies, and will be hindered in effectively

preparing cross-examination of government witnesses.

        Further, Mr. Bru has not been dilatory. He has no control over his custodial

placement. And a significant amount of discovery was just made available on August 16,

2023. Given Mr. Bru’s custodial circumstances, he has not been able to review this

discovery. And his custodial circumstances—four institutions between August 16 and

September 17, with no concrete timeline as to when he will be moved next—have made it




United States v. Marc Bru
Case No. 21-cr-00352-JEB                                                             Page 5
          Case 1:21-cr-00352-JEB Document 75-1 Filed 09/18/23 Page 6 of 6




incredibly difficult for standby counsel to travel, from Alaska to Mr. Bru, to facilitate the

necessary trial preparation.

                                              CONCLUSION

        When Mr. Bru set for trial, he, perhaps naively, expected that he would be moved

to a location proximate to his trial site on August 16, 2023. A month has passed, and Mr.

Bru has spent time in four different institutions but has not reached his final destination.

This delay has hampered Mr. Bru’s access to discovery and has hamstrung his trial

preparations. Accordingly, he requests a continuance of trial to allow him additional time

to prepare once he reaches his final custodial destination.

        DATED this 17th day of September, 2023.

                                                        Respectfully submitted,

                                                        s/Marc Bru
                                                        Marc Bru, Defendant
                                                        pro se


                   Certificate of Service:
I hereby certify that I filed the foregoing and any
attachments with the Clerk of Court for the United States
District Court for the District of Columbia on September
18, 2023. All participants in this case will be served by
electronic service through the district’s CM/ECF system.

Service by: s/Ben W. Muse




United States v. Marc Bru
Case No. 21-cr-00352-JEB                                                               Page 6
